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IN THE`. UNITED STATES DISTRICT COURT

 

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KEVIN HAMMONS,
Plaintiffs,

v. Civil Action No. 04-2243-
BV

LASIK VISION INSTITUTE, INC.,

PEARLE VISION CENTER, INC.,

PEARLE. VISION CENTER OF TENNESSEE, INC.,
And DAVID S. MURPHY, M.D.,

Defendants.

 

CONSENT ORDER ALLOWING THIRTY DAY EXTENSION FOR LASIK VISION
INSTITUTE, LLC TO AN ANSWER TO THE AMENDED COMPLAINT

 

Come now the parties, by and through their counsel of record, and consent
to the entry of an Order granting the I\/Iotion of the Defendant, Lasik Vision
Institute, LLC, a thirty day extension to file an Answer to the Amended Complaint.

It is therefore ordered, adjudged and decreed that the Defendant, Lasil<

Vision Institute, LLC, shall be allowed an additional thirty days in Which to file an

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JUDGE: "

Answer to the Arnended Complaint.

DATED: lilde U, 'L/GE>§/

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Attorney for Plaintiff, Vin Hamrnons
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Attorne for Defendant, David 515
Murphy, l\/I. D.
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orney for Defendant, Lasik
Vision lnstitute, LLC
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Attorney for Defendant, Pearle Vision
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Attorney for Defendant, Pearle Vision
Center of Tennessee

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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CV-02243 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Lee J. Chase

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Elizabeth L. Simpson

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Randy Songstad

DOWDEN SONGSTAD & WORLEY
6077 Primacy Parkway

Ste. 102

1\/1emphis7 TN 38119

Marty R. Phillips

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jacl<son7 TN 38302--114

Elizabeth T. Collins

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Honorable .1. Breen
US DISTRICT COURT

